8:23-cr-00086-BCB-RCC
  Case 2:23-mj-06322-DUTYDoc
                           Document
                             # 97-3 3Filed:
                                        Filed
                                            12/14/23
                                              12/12/23 Page
                                                        Page11ofof55- Page
                                                                      PageID
                                                                           ID##:3
                                                                               394
8:23-cr-00086-BCB-RCC
  Case 2:23-mj-06322-DUTYDoc
                           Document
                             # 97-3 3Filed:
                                        Filed
                                            12/14/23
                                              12/12/23 Page
                                                        Page22ofof55- Page
                                                                      PageID
                                                                           ID##:4
                                                                               395
8:23-cr-00086-BCB-RCC
  Case 2:23-mj-06322-DUTYDoc
                           Document
                             # 97-3 3Filed:
                                        Filed
                                            12/14/23
                                              12/12/23 Page
                                                        Page33ofof55- Page
                                                                      PageID
                                                                           ID##:5
                                                                               396
8:23-cr-00086-BCB-RCC
  Case 2:23-mj-06322-DUTYDoc
                           Document
                             # 97-3 3Filed:
                                        Filed
                                            12/14/23
                                              12/12/23 Page
                                                        Page44ofof55- Page
                                                                      PageID
                                                                           ID##:6
                                                                               397
8:23-cr-00086-BCB-RCC
  Case 2:23-mj-06322-DUTYDoc
                           Document
                             # 97-3 3Filed:
                                        Filed
                                            12/14/23
                                              12/12/23 Page
                                                        Page55ofof55- Page
                                                                      PageID
                                                                           ID##:7
                                                                               398
